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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                  10/6/2022

 ROHAN RAMCHANDANI,
                                                  19 Civ. 9124 (VM)
                       Plaintiff,
                                                  ORDER
                - against -

 CITIGROUP, INC. et al.,

                       Defendants.


VICTOR MARRERO, United States District Judge.

      The   parties’   requests     to   seal   certain   confidential

materials included within their pre-motion letters (see Dkt.

Nos. 130 and 134) are GRANTED. The parties are directed to

file redacted versions of the letters on the public docket,

to the extent they have not already done so.



SO ORDERED.

Dated:      October 6, 2022
            New York, New York



                                           _________________________
                                                Victor Marrero
                                                   U.S.D.J.




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